                                                         Case 3:07-cv-05944-JST Document 4707 Filed 07/05/16 Page 1 of 1




                                                1                              UNITED STATES DISTRICT COURT
                                                                              NORTHERN DISTRICT OF CALIFORNIA
                                                2                                (SAN FRANCISCO DIVISION)
                                                3
                                                4   IN RE: CATHODE RAY TUBE (CRT)
                                                5   ANTITRUST LITIGATION

                                                6
                                                    This Document Relates to:
                                                7   Individual Case No. 3:11-cv-06397                 Case No. 07-5944 JST
                                                8
                                                    COSTCO WHOLESALE CORP.,                           MDL No. 1917
                                                9            Plaintiff,
                                                                                                      [PROPOSED] ORDER OF DISMISSAL
                                               10
                                                    v.
                                               11
                                               12   HITACHI, LTD., et al.,
                   701 Thirteenth Street, NW
                    Washington, DC 20005




                                                               Defendants.
White & Case LLP




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                                               14
                                                           The Court having considered the stipulation of the parties, and good cause appearing
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                                                    therefore, orders as follows:
                                               16
                                                           1)      All claims asserted by Plaintiff Costco Wholesale Corporation against
                                               17
                                                                   Defendants Toshiba Corporation, Toshiba America, Inc., Toshiba America
                                               18
                                                                   Information Systems, Inc., Toshiba America Consumer Products, L.L.C., and
                                               19
                                                                   Toshiba America Electronic Components, Inc. in the underlying action are
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                                                                   hereby dismissed with prejudice pursuant to Fed. R. Civ. P. 41(a)(2).
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                                                           2)      Each party shall bear its own costs and attorneys’ fees.
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                                                                                                                   S DISTRICT
                                                           IT IS SO ORDERED.
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                                               24                                                              TA
                                                    Dated: July 5, 2016                         _______________________________________
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                                               25                                                The Honorable Jon S. Tigar
                                                                                                                                             RT




                                                                                                 UNITED STATES DISTRICT  RDER ED JUDGE
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                                                                                    [PROPOSED] ORDER OF DISMISSAL
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                                                                                          Case No. 07-5944 JST
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